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  11   TERRY O. HARTSHORN
  12
                               UNITED STATES DISTRICT COURT
  13
                   CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
  14
  15   UNITED STATES OF AMERICA,             CASE NO. CV 07-01984 PSG (MANx)
  16   EX REL. NYOKA LEE and
       TALALA MSHUJA,
  17                     Plaintiff,          [PROPOSED] JUDGMENT
  18               vs.
  19   CORINTHIAN COLLEGES INC., et
       al.                                   The Honorable Philip S. Gutierrez
  20
  21                     Defendants.

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       9472477.1                                   PROPOSED JUDGMENT - CV 07-01984 PSG
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   1         This action having come before the Court, The Honorable Philip S.
   2   Gutierrez, District Judge, presiding, and the issues having been duly heard and a
   3   decision having been duly rendered,
   4                It is ORDERED AND ADJUDGED that Plaintiffs take nothing and
   5   that the action be dismissed with prejudice.
   6                                                        11th
                    Dated at Los Angeles, California, this ____________ day of
   7   December, 2009.
   8
   9                             __________________________________
                                           Philip S. Gutierrez
  10                                   United States District Judge
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                                                  Respectfully submitted,
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  14   DATED: December 11, 2009                   MUNGER, TOLLES & OLSON LLP

  15
  16                                              By:     /s/ Heather E. Takahashi
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